Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 1 of 61 PageID #:1039




                  IN THE UNITED STATES DISTRICT COURT

                FOR THE NORTHERN DISTRICT OF ILLINOIS




 MEGAN MASON,                           Case Number: 1:22-CV-2315
 Plaintiff;

 A.D.M., by his mother, Megan Mason,
 Plaintiff;

 T.M.M., by his mother, Megan Mason,
 Plaintiff;


 Vs.

 THE CIRCUIT COURT OF COOK
 COUNTY ILLINOIS, Defendant, et al;




 PLAINTIFFS’ EMERGENCY MOTION TO ORDER US MARSHAL SERVICE OF

 PROCESS ON DEFENDANTS MICHAEL BENDER; BRADLEY TROWBRIDGE;

 CHRISTOPHER WEHRMAN; JOHN PALEN; GERALD BLECHMAN AND THE

 CIRCUIT COURT OF COOK COUNTY, ILLINOIS AND MOTION TO EXTEND

                           DEADLINE FOR SERVICE
Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 2 of 61 PageID #:1040




                                          Overview



I, Megan Mason, plaintiff pro se in this case and mother to plaintiffs A.D.M. and T.M.M.

ask this court to assist, by order of US Marshal service or other appropriate and safe method

that this Court deems fit, in the service of summons and complaint upon defendants who

refuse to waive or receive service or to file an appearance in this matter. I have documented

herein particularly the exhaustive efforts to formally provide service upon a group of

defendants who know they are being sued and are yet hindering the efforts to formally

commence this action.

 Because of the good faith effort I have made to serve parties who refuse to acknowledge

this lawsuit I am also seeking an extension in the deadline for service in this action to a date

that this Court finds to be just based on the evidence provided here and time required to

execute US Marshal service of process or other method deemed appropriate by this Court

in a civil matter.

 With respect to the five individuals who have evaded service aggressively, they have been

fully cognizant of this lawsuit for more than two months and I so I ask that this Court please

enter this motion instanter in consideration of the long time plaintiffs in this matter have

already waited due to some defendants’ intentional refusals to allow this Court to

commence action, documented in detail below.

    1. According to Federal Rules of Civil Procedure rule 4. M. reads:

        (m) TIME LIMIT FOR SERVICE. If a defendant is not served within 90 days after
        the complaint is filed, the court—on motion or on its own after notice to the
        plaintiff—must dismiss the action without prejudice against that defendant or order
        that service be made within a specified time. But if the plaintiff shows good cause



                                                                                                   2
Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 3 of 61 PageID #:1041




      for the failure, the court must extend the time for service for an appropriate period.”

   2. Illinois law allows for special order when parties are unable to be served, “ (735
      ILCS 5/2-203.1) (from Ch. 110, par. 2-203.1)Sec. 2-203.1. Service by special order
      of court. If service upon an individual defendant is impractical under items (1) and
      (2) of subsection (a) of Section 2-203, the plaintiff may move, without notice, that
      the court enter an order directing a comparable method of service. The motion
      shall be accompanied with an affidavit stating the nature and extent of the
      investigation made to determine the whereabouts of the defendant and the reasons
      why service is impractical under items (1) and (2) of subsection (a) of Section
      2-203, including a specific statement showing that a diligent inquiry as to the
      location of the individual defendant was made and reasonable efforts to make
      service have been unsuccessful. The court may order service to be made in any
      manner consistent with due process.”

   3. This action formally commenced with the filing of the original complaint on May 3,

      2022. In normal situations service will have been required upon defendants by

      August 2, 2022.

   4. It is impossible to meet this deadline due to refusal of parties to acknowledge or

      receive service, the long wait to coordinate US Marshal Service in a civil matter,

      and particular legal constraints on individuals physically contacting individuals who

      are sitting judges, judicial candidates or otherwise employed in sensitive

      professions. Therefore an extension of the deadline for service to October 2, 2022 or

      another date this Court deems appropriate, is necessary.

   5. I am seeking this Court’s assistance in providing service upon five personally named

      defendants: Michael Bender, Christopher Wehrman, Bradley Trowbridge, John

      Palen and Gerald Blechman who have known since around May 13th, 2022 that

      they are defendants in this lawsuit in which I am plaintiff along with my minor

      children. (Exhibit A).




                                                                                                3
Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 4 of 61 PageID #:1042




   6. I am also seeking assistance in providing service upon The Circuit Court of Cook

      County, Illinois.

   7. I am also seeking assistance in service of process on two individuals, Kaye Mason

      and Lorie Garner, who have received service via State’s Attorneys, but not accepted

      counsel from these States Attorneys, and for whom I wish to avoid any lingering

      questions of the parties having been served in the future.

   8. All personally named defendants in this motion have engaged in acts to hinder, deter

      and obfuscate the commencement of actual proceedings in this case, making urgent

      court intervention necessary. I have detailed specific acts and evidence that

      demonstrate each party knows he or she is a defendant and yet will not receive

      service of process.

   9. Defendant Michael Bender has known for three months that he is a defendant in this

      lawsuit and is actively evading commencement of action in this matter.

          a. Michael Bender first became aware that he was named as a defendant in

              Case Number: 1:22-CV-2315 on or before May 13, 2022. On May 13 I

              emailed a copy of the complaint, waiver of service, consent for magistrate

              form and explanation that these documents would be mailed to his regular

              work email address mbender@caesarbenderlaw.com . (Exhibit A)

          b. For the last four years, Michael Bender has served as plaintiffs A.D.M.’s

              and T.M.M.’s court ordered Guardian Ad Litem and is still serving in this

              role as of this filing..

          c. On or around May 19, 2022 Mr. Bender received the complaint, two copies




                                                                                             4
Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 5 of 61 PageID #:1043




               of the waiver of service form, a stamped envelope and a consent for

               magistrate hearing form at the address on file in Domestic Relations matter

               2016 D 9540, 150 N Michigan Ave #2130, Chicago, IL 60601. At this time

               Mr. Bender declined to waive service.

          d. On several occasions subsequent to the commencement of this lawsuit on

               May 3, 2022, Mr. Bender has emailed me or responded to emails in which I

               am copied through his role as my children’s GAL, using the email address

               mbender@caesarbenderlaw.com.

          e. On June 20th, Mr. Bender used this email address to serve upon me a

               petition for rule to show cause in which he sought my incarceration.

          f. On June 3, 2022, Mr. Bender received service in case 2016 D 9534 in which

               he serves as GAL, of a pleading from Mr. Christopher Wehrman that directly

               refers to this lawsuit. (Exhibit C)

          g. On June 29th Mr. Bender received an email with a digital copy of the Motion

               for Preliminary Injunction as well as the Amended Complaint (Exhibit B).

          h. At around 4pm on June 30, 2022 I called Mr. Bender’s place of business,

               Caesar Bender Law, and spoke to a receptionist named Allie. I informed

               Allie that I needed to arrange delivery of some documents for Mr. Bender.

               Allie put me on hold briefly and then told me that she’d reach out to Mr.

               Bender’s assistant and get back to me. She never returned my call.

          i.   On July 5th, 2022 Mr. Bender attended a hearing via Zoom at 11:30 with

               defendants Robert Johnson and Christopher Wehrman in attendance as well




                                                                                             5
Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 6 of 61 PageID #:1044




             as Jillian Westerfield, Robert Frank and Diane Mason as civil rights

             witnesses on my behalf. At this time I orally presented before Mr. Bender a

             motion that defendant Robert Johnson, still acting in the role of presiding

             judge on this case step down and transfer this case to a neutral county due to

             the fact that Mr. Bender, Mr. Wehrman and Judge Johnson are all named in

             defendants in this federal suit. At this time Mr. Bender heard personally from

             me that he is defendant in Case Number: 1:22-CV-2315.

          j. On July 6th at approximately 1:15 pm, Diane Mason, my mother, visited the

             address I believe to be Michael Bender’s address, 7328 Keystone Avenue in

             Skokie. There was a red red Jaguar brand automobile parked in the driveway

             I believe belongs to Mr. Bender with the license plate V 63 7319. My mother

             rang the bell and there was no response. I held down the button on the

             intercom and said, “We have some papers for Michael Bender”. Nobody

             answered the door. (Exhibit D)

          k. On July 8th at approximately 3:50pm I left a paper copy of a Notice of

             Motion and Motion for Preliminary Injunction for Mr. Bender at his business

             address, 150 N. Michigan Ave. (Exhibit E)

          l. Mr. Bender knows he is being sued and is easily and readily available to

             send and receive documents through the course of his job as an attorney, but

             he refuses to do so.

          m. Mr. Bender is a former judge and actively working as a guardian ad litem

             which makes me fear inadvertently violating the law if I take actions




                                                                                              6
Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 7 of 61 PageID #:1045




             necessary to arrange personal service such as following him, monitoring him

             or researching his personal details.

   10. Defendant Christopher Wehrman has known for three months that he is a defendant

      in this lawsuit and is actively evading commencement of action in this matter.

          a. Christopher Wehrman first became aware that he was named as a defendant

             in Case Number: 1:22-CV-2315 on or before May 13, 2022. On May 13 I

             emailed a copy of the complaint, waiver of service, consent for magistrate

             form and explanation that these documents would be mailed to his regular

             work email address cwehrman@kgwlaw.com . (Exhibit A).

          b. On several occasions subsequent to the commencement of this lawsuit on

             May 3, 2022, Mr. Wehrman has emailed me or responded to emails in which

             I am copied, using the email address cwehrman@kgwlaw.com. Mr.

             Wehrman has used this email address to log in to the Circuit Court filing

             system and file at least five pleadings in retaliatory actions against me since

             the commencement of Case Number: 1:22-CV-2315 on May 3, 2022.

          c. Since around February 2022, Mr. Wehrman has claimed to have a place of

             business at the Wrigley Building in Chicago. He used this address in his

             email signature and in the attestations with every court filing between

             February, 2022 to as recently as July 5th, 2022. In these he states his place of

             business to be: “KATZ, GOLDSTEIN & WARREN Chicago Office 410 N.

             Michigan Ave., Suite 400”. (Exhibit F, Exhibit G)

          d. This is in fact the office of Oil Dri, a mineral company and it is my




                                                                                                7
Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 8 of 61 PageID #:1046




             understanding that neither Mr. Christopher Wehrman nor his partner Mr.

             Steven Klein has ever had office space there.

          e. On May 18th, 2022 I sent the complaint, two copies of the waiver of service

             form, a stamped self addressed envelope, and consent to magistrate hearing

             to Mr. Wehrman at this address which I now understand to be the office of

             unaffiliated Oil Dri Corporation.

          f. On June 29th Mr. Wherman received an email with a digital copy of the

             Plaintiffs’ Motion for Preliminary Injunction as well as the Amended

             Complaint (Exhibit B).

          g. On June 29th at approximately 3pm I attempted to visit the office Mr.

             Wehrman represented to me as his and his partner Steve Klein’s place of

             business at 410 N. Michigan Ave., Suite 400, Chicago, IL. I signed in with

             the security guard and went to the fourth floor where I found Suite 400, the

             only suite on the floor, occupied by a company called Oil Dri. I entered the

             door and asked the receptionist if an attorney or law firm shared offices. She

             looked confused and said, “No.”. I asked if she’d heard of Chris Wehrman,

             Steve Klein or KG Law.” She said, “No.”. I returned downstairs where the

             security guard smiled and shook her head. She said, “I was wondering what

             law firm you were going to. I don’t know anything about a law firm in this

             building”. (Exhibit J, Exhibit K)

          h. Although Mr. Wehrman has not and will not file an appearance or waive

             service in this matter, he has nevertheless used his position as an Illinois




                                                                                              8
Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 9 of 61 PageID #:1047




             officer of the court to reference Case Number: 1:22-CV-2315 directly in

             Illinois court filings. On June 3, 2022 Christopher Wehrman filed a

             document called, “Petition for Prospective Attorney’s Fees and for

             Allocation of Expert and GAL Fees” filed by the Clerk of the Circuit Court

             of Cook County” (Exhibit C) in which he addressed this pleading and asked

             the court to impose $25,000 in penalties on me for filing a complaint in

             federal Court.

          i. In paragraph 18 and 19, Mr. Wehrman wrote ostensibly on Mr. Matt’s behalf,

             “p. 18. Megan Matt has further filed a $20,000,000 federal lawsuit to

             intimidate Peter Matt and the court system. p. 19. “Peter Matt’s counsel

             estimates that her prospective attorney’s (sic) and costs in preparing for this

             matter for the ongoing litigation of (sic) $25,000”.

          j. I have only filed one suit in federal court in which direct damages are

             estimated to start at $20,000,000, this one, in which Mr. Wehrman is named

             as a defendant. At present Mr. Peter Matt is not a defendant in this or any

             suit I, Megan Matt (nka Megan Mason) have filed in federal court, so Mr.

             Wehrman was responding, through his own state court filing, to this suit

             while ostensibly representing Mr. Matt.

          k. On June 30, 2022, I searched for Mr. Wehrman’s address as filed with the

             Illinois Bar. I created a screenshot showing Mr. Wehrman’s address, as

             publicized by the Illinois Bar on that date. On that date Mr. Wehrman had

             elected to have his business address available to the public and listed it as:




                                                                                               9
Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 10 of 61 PageID #:1048




              Katz, Goldstein & Warren, 2345 Waukegan Rd Suite 150, Bannockburn, IL

              60015. (Exhibit L)

          l. On June 30, 2022 at approximately 3:15 pm I delivered to Mr. Wehrman a

              Notice of Motion as well as the Motion for Preliminary Injunction to his

              office at KGW Law in Bannockburn, Illinois. (Exhibit M)

          m. On the afternoon of June 30th, 2022 I called KG Law, based at what I now

              understand to be the firm’s only office in Bannockburn, and explained to the

              receptionist that I needed to find a time to serve documents to Mr. Wehrman

              at home or at his place of business. I was transferred by the receptionist to

              Mr. Wehrman’s assistant, Aneta Sniadala. I told Ms. Sniadala I needed to

              find five minutes in Mr. Wehrman’s schedule to arrange service of

              documents at his home or place of business. Ms. Sniadala said, “That’s not

              how it works, you have to find him.”

          n. Since June 30, 2022, Mr. Wherman has removed any contact address from

              the Illinois Bar database in an act, I believe, was intended to further hinder

              and obstruct service of process in this matter.

       11. Defendant Jonathan Palen has known for three months that he is a defendant in

       this lawsuit and is actively evading commencement of action in this matter.

          a. Dr. John Palen first became aware that he was named as a defendant in Case

              Number: 1:22-CV-2315 on or before May 13, 2022. On May 13 I emailed a

              copy of the complaint, waiver of service, consent for magistrate form and

              explanation that these documents would be mailed to his regular work email




                                                                                               10
Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 11 of 61 PageID #:1049




             address jpalen@johnpalenphd.com. (Exhibit A).

          b. On June 29th Dr. Palen received an email with a digital copy of the Motion

             for Preliminary Injunction as well as the Amended Complaint at this same

             email address (Exhibit B).

          c. On July 7, 2022, I called Dr. Palen at the phone number he used when

             appointed as parenting coordinator, which he displays on his website and in

             his email signature: 847-967-1695. I left a voicemail indicating I had to

             arrange delivery of papers for him. He did not return my call.

          d. On July 8, 2022 I attempted to deliver a hard copy of the motion for

             preliminary injunction, the emailed copy of which Dr. Palen had received on

             June 29th, to his office at 5225 Old Orchard Road, Suite One, Skokie,

             Illinois 60077.

          e. I first met Dr. Palen in 2020 and my family worked with him virtually so I

             never visited an office for Dr. Palen when he was appointed as my family’s

             parenting coordinator. Throughout that time I understood his address to be

             5225 Old Orchard Road, Suite One, Skokie, Illinois 60011 based on his

             email signature. It is still the address Dr. Palen lists to advertise his business

             on PsychologyToday.com, on his own website and in his email signature. On

             July 12th, 2022 at around 7am I took a screenshot of Dr. Palen’s website,

             www.johnpalenphd.com, which still indicates his address to be 5225 Old

             Orchard Road, Suite 1, Skokie, Illinois (Exhibit H).

          f. However when I arrived at 5225 Old Orchard Road in Skokie on July 8th,




                                                                                                  11
Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 12 of 61 PageID #:1050




              2022, I found Suite One to be occupied by a home healthcare agency called

              Living Spring Services. I spoke to the receptionist, Leslie, and she told me

              Dr. John Palen was not based there and never had been to her knowledge.

              (Exhibit I)

          g. On July 11th at around 2 pm I called the main number for Living Spring

              Services. She explained to me that the company has no affiliation with Dr.

              John Palen. She said she was told that Suite 1 had not been occupied by

              another tenant since at least before August 2021.

       12. Defendant Gerald Blechman has known for three months that he is a defendant

       in this lawsuit and is actively evading commencement of action in this matter.

          a. Dr. Gerald Blechman first became aware that he was named as a defendant

              in Case Number: 1:22-CV-2315 on or before May 13, 2022. On May 13 I

              emailed a copy of the complaint, waiver of service, consent for magistrate

              form and explanation that these documents would be mailed to his regular

              work mailing address to the email address Dr. Blechman uses professionally

              gablechman@aol.com (Exhibit A).

          b. On around May 19th, 2022, Dr. Blechman received the original complaint,

              waiver of service forms and stamped return envelope and consent for

              magistrate hearing form at his place of business, 1751 S. Naperville Rd.,

              Suite 206, Wheaton, Illinois.

          c. No attorney representing Gerald Blechman has filed an appearance as of this

              filing and no waiver of service has ever been returned to me on his behalf.




                                                                                             12
Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 13 of 61 PageID #:1051




          d. On June 27th, 2022 a summons to Gerald Blechman was issued by the Clerk

             for the Northern District of Illinois for Case Number 1:22-CV-2315.

          e. On June 29th Dr. Blechman received an email with a digital copy of the

             Motion for Preliminary Injunction as well as the Amended Complaint at this

             same email address (Exhibit B).

          f. On July 5th, 2022 I attended a hearing with defendant Judge Robert Johnson

             presiding. Defendant Judge Johnson ordered me, as defendant in Illinois case

             2016 D 9534, to arrange a meeting with defendant Dr. Blechman before July

             12th, 2022 in order to facilitate defendant Dr. Blechman’s custody

             evaluation.

          g. In the months prior to the July 5th, 2022 order, I had tried several times to

             email or call Dr. Blechman regarding a solicitation of money which I

             wanted him to explain but had not been able to reach him. (Exhibit O)

          h. On July 6th, 2022 at approximately 1:15pm I visited Dr. Blechman’s office

             in Wheaton, Illinois, more than an hour drive from my home in Wilmette,

             Illinois in traffic. My mother and I attempted to visit Dr. Blechman’s office

             and found it dark and empty. I called Dr. Blechman and reached his

             voicemail. Dr. Blechman never returned my call. (Exhibit N)

          i. On July 7th at 7 am I emailed Mr. Bender and Mr. Wehrman and explained

             that Dr. Blechman was not returning calls or emails and I had found his

             office dark with a note stuck into the door. I asked if they knew if Dr.

             Blechman was well. Neither party responded. (Exhibit O)




                                                                                             13
Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 14 of 61 PageID #:1052




          j. On July 8th, under Court order to contact Dr. Blechman, I had still received

                 no return to my calls, emails or office visit. So at around noon I called the

                 Wheaton Police Department and explained I was under Court order to

                 contact Dr. Blechman and asked if they could please confirm if he was well.

                 They agreed to do a welfare check on Dr. Blechman.

          k. On July 8th I received a call back from Officer Justin Sanchez from the

                 Wheaton Police Department at around 12:30 pm from phone number (630)

                 386-5692. Officer Sanchez advised me that Dr. Blechman did not wish to

                 have any contact with me based on advice he's received from legal counsel.

                 Officer Sanchez said he advised me that it is in my interest not to have any

                 more contact with Dr. Blechman.

          l. I agree with Dr. Blechman, Dr. Blechman’s attorney and Officer Sanchez

                 that it is best for me to have little to no physical contact or direct

                 communication with Dr. Blechman or any other party involved in this case.

          m. Dr. Blechman, having retained counsel, clearly knows he has been named as

                 a defendant in this suit, though he has yet to file an appearance and persists

                 in evading service.

       13. Defendant Bradley Trowbridge has known for three months that he is a

       defendant in this lawsuit and is actively evading commencement of action in this

       matter.

          a. Bradley Trowbridge first became aware that he was named as a defendant in

                 suit on or before May 13, 2022. On May 13 I emailed a copy of the




                                                                                                  14
Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 15 of 61 PageID #:1053




             complaint, waiver of service, consent for magistrate form to the email

             address Mr. Trowbridge uses professionally brad@bradtrowbridge.com

             (Exhibit A). In this email I explained that these documents would be mailed

             to his regular work mailing address.

          b. On or around May 19, 2022 Mr. Trowbridge received a copy of the original

             complaint and other documents sent previously by email at the address I

             knew to be his business address while his client, 3257 N Sheffield Ave #104,

             Chicago, IL 60657.

          c. Mr Trowbridge has corresponded with me using this mailing address within

             the last six months and this remains the mailing address on his website,

             bradtrowbridge.com.

          d. It is my understanding that Mr. Trowbridge uses the email

             brad@bradtrowbridge.com and the mailing address 3257 N Sheffield Ave

             #104, Chicago, IL 60657 for correspondence, registration, and

             documentation related to his ongoing campaign to be elected a Circuit Court

             Judge, for which he recently won the Cook County Democratic Party

             nomination.

          e. No party representing Bradley Trowbridge has filed an appearance as of this

             filing and no waiver of service has ever been returned to me on his behalf.

          f. On June 27th, 2022 a summons to Bradley Trowbridge was issued by the

             Clerk for the Northern District of Illinois for Case Number 1:22-CV-2315.

          g. On June 29th Mr. Trowbridge received an email with a digital copy of the




                                                                                           15
Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 16 of 61 PageID #:1054




                Motion for Preliminary Injunction as well as the Amended Complaint at this

                same email address (Exhibit B).

            h. On June 29th I received an automatic email from Mr. Trowbridge in

                response to the motion and notice of motion, stating, “I will be out of the

                office from June 18, 2022, through June 29, 2022. My assistant will be

                checking my email frequently. Thank you.” (Exhibit Q)

            i. I have not received a response from Mr. Trowbridge or his assistant.

            j. On the morning of July 8th, 2022, I accompanied Robert Frank to Mr.

                Trowbridge’s office where he rang the bell for Suite #104 or 3257 Sheffield

                Ave. Nobody responded. (Exhibit P)

            k. Mr. Trowbridge has instructed me by prior written communication not to

                communicate with him.

            l. Mr. Trowbridge is a court appointed child rep and a judicial nominee which,

                like Mr. Bender, makes me reasonably believe that I am in legal peril should

                I engage in tracking or forcing physical contact with Mr. Trowbridge,

                particularly after he has instructed me to have no contact with him.



 14. The executive and legal authorities of the Circuit Court of Cook County Illinois

 understand that the Court itself is being sued and have not responded to my requests made

 to them for a communication contact or filed an appearance. I have followed the steps

 necessary to sue a municipal body as required by the Federal Rules of Civil Procedure and

 local rules to the best of my ability and believe Court intervention is necessary here. A party




                                                                                              16
Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 17 of 61 PageID #:1055




 received service on behalf of The Circuit Court of Cook County Illinois but as of this filing

 I do not have an individual contact related to this matter, namely an attorney.

            a. My original legal contact on behalf of the Circuit Court of Cook County,

                Illinois has been Brianna Steger who wrote to me following the filing of a

                Petition to Substitute Judge for Cause in January, 2022 at which time I had

                asked Judge Dickler for federal whistleblower protection. At that time I did

                not understand Judge Dickler rules on or would be ruling on a case involving

                me and wrote to her in her administrative capacity. However Ms. Steger

                wrote to chastise me for ex parte communication.

            b. As Ms. Steger is an attorney for the Circuit Court of Cook County I have

                since this time considered her as 1. A legal representative of the court and,

                until recently, 2. The only legal representative of the Court to communicate

                with me. So on May 3, 2022, I wrote, “Would you please provide the full

                contact for the Attorney Representing the Court in the Northern District of

                Illinois on matters relating to Color of Law violations by and within the

                Circuit Court? Would you also please provide the contact information for the

                firm representing the Clerk of The Circuit Court?”. (Exhibit R)

            c. Ms. Steger has never responded.

            d. I delivered the initial case documents to Ms. Steger, the only attorney of

                record for my contact with the court. I placed the envelope containing the

                original complaint, two waivers of service forms and return envelope, and

                the consent for magistrate hearing in the floor 19 bin in an envelope




                                                                                                17
Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 18 of 61 PageID #:1056




             addressed to Ms. Steger with the date of delivery, May 19, 2022 indicated on

             the package. I placed the envelope in this bin at the instruction of a

             uniformed security officer named Franklin who attends Judge Evans’s office

             door and informed me that all court mail, including first class mail, is

             delivered into the bins with a number for the floor of the recipient indicated.

             (Exhibit S)

          e. It is my understanding that on May 19th, 2022 Ms. Steger received these

             documents.

          f. No party representing The Circuit Court of Cook County Illinois has filed an

             appearance as of this filing and no waiver of service has ever been returned

             to me on said Court’s behalf.

          g. On June 27th, 2022 a summons to The Circuit Court of Cook County was

             issued by the Clerk for the Northern District of Illinois for Case Number

             1:22-CV-2315.

          h. On June 28th, 2022, I accompanied Robert Frank to serve process upon the

             Court. On the instruction of Judge Grace Dickler, via her secretary Patricia

             Kelly, Mr. Frank and I went to the 26th floor where he gave the summons

             and other documents to a woman named Betty who came out from Judge

             Timothy Evans’s office, who said, “I can take those”. (Exhibit T)

          i. At this same time the woman named Betty received service in this same suit

             on behalf of Chief Judge Evans, chief executive of the municipal entity

             known as The Circuit Court of Cook County.




                                                                                            18
Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 19 of 61 PageID #:1057




 15. I am also seeking the Court’s assistance in service of process on two individuals who, as

 of this filing, have had service informally received and acknowledged by a State’s Attorney

 representing employees of The Circuit Court of Cook County Illinois but have not as of this

 filing retained those attorneys.

            a.   These defendants are Ms. Kaye Mason and Ms. Lorie Garner (AKA

                 “Laurie” Garner), both employees of The Circuit Court of Cook County

                 Illinois named personally.

            b. In the event that one or both of these two individuals declines to be

                 represented by the States Attorneys, I do not know if these attorneys can

                 confirm that the parties are aware of the lawsuit. Out of an abundance of

                 caution, I would therefore ask this Court to order service of process of the

                 summons and amended complaint on Ms. Kaye Mason and Ms. Lorie Garner

                 (aka “Laurie Garner”), employees of the Circuit Court of Cook County,

                 Illinois.

            c. Summonses were issued for Ms. Kaye Mason and Ms. Lorie Garner (aka

                 “Laurie Garner”) on June 27th, 2022.

 16. Given the vast number of hindrances I have described and the fact that most defendants

 in federal suits waive service and in this lawsuit eight have not, I can’t help but fear that

 some of these individuals are acting in concert as a strategy to stop this lawsuit from

 happening. My children and I ought not to be denied justice by defendants’ efforts to “run

 down the clock”.

 17. I have contacted US Marshal service to get a better understanding of the steps necessary




                                                                                                 19
Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 20 of 61 PageID #:1058




 for the service of process in a civil matter and was told that I would not personally be able

 to arrange service in less than thirty days and perhaps as long as sixty days due to the large

 volume of civil processes in queue.

 18. I have not been able to find a private process server willing to serve powerful attorneys

 and The Circuit Court itself.

 18. Although I require assistance, I believe, in physically serving individuals, there is no

 question of how to find these parties, communicate with these parties or contact these

 parties. All parties for whom assistance in service is required are active members of the

 Illinois Bar or active appointees or employees of the Circuit Court of Cook County.

 19. The Northern District of Illinois encourages efiling.

 20. All unrepresented defendants and all attorneys who have filed an appearance in this

 lawsuit have email addresses, access to a computer and use email communications as a

 daily, regular form of communication. I know of no financial, geographical, philosophical

 or other basis for any defendant in this suit to insist on receiving documents in paper form.



 Wherefore I ask that this Court:

    A. Enter an order instanter for US Marshal Service of process on defendants Michael

        Bender, Christopher Wehrman, Gerald Blechman, Jonathan Palen, Bradley

        Trowbridge, Kaye Mason and Lorie Garne (AKA “Laurie” Garner) or any other

        means of service that this Court deems just, efficient and safe for all parties.

    B. Extend the deadline to serve parties to October 2, 2022 or any other date this Court

        deems just in consideration of the facts herein.




                                                                                                  20
Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 21 of 61 PageID #:1059




    C. Order all defendants in this matter or attorneys who have filed or will file an

       appearance in this case to use email for ongoing delivery of pleadings unless and

       until such time as they have sought and obtained a specific exemption from this

       Court.

    D. Order that The Circuit Court of Cook County Illinois file an appearance or that this

       Court please advise me of any failures in my attempts to serve The Circuit Court of

       Cook County Illinois and any corrections I may make for my errors.

    E. That parties Christopher Wehrman and Jonathan Palen be ordered to reimburse me

       for the cost of printing and shipping legal pleadings to business addresses they knew

       to be fraudulent.

    F. That parties Christopher Wherman, Jonathan Palen, Gerald Blechman, Michael

       Bender and Bradley Trowbridge be ordered to pay any costs associated with

       effecting service, including US Marshal service fees if ordered.

    G. Any sanctions that this Court sees fit to impose on parties that are seen to be

       obstructing or hindering the just functioning of this Court particularly by individuals

       who are bound by oath to uphold the laws of this land and the proper functioning of

       our courts.

    H. Any other relief or guidance that this Court sees fit to provide and any order that this

       Court believes will encourage more transparent, direct engagement by parties in the

       judicial process.




                                                                                              21
Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 22 of 61 PageID #:1060




                                                                     Respectfully Submitted by,

                                                                             /S/ Megan Mason

                               Plaintiff Pro Se and on behalf of Plaintiffs A.D.M. and T.M.M.



                             Affidavit in support of pro se filing

 I attest that the statements made in this motion are true to the best of my knowledge. I

 submit this filing under threat of perjury and am willing to testify under oath to the same.

 /S/ Megan Mason July 12, 2022

 Megan Mason
 419 Greenleaf Ave.
 Wilmette, IL 60091
 917.518.1808




                                                                                                22
              Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 23 of 61 PageID #:1061
                                                            Exhibit A
                                                                                            Megan M <megan42@gmail.com>



Federal Complaint
2 messages

Megan Mason <megan42@gmail.com>                                                         Fri, May 13, 2022 at 9:28 AM
To: "Kaye Mason (Chief Judge's Office)" <kaye.mason@cookcountyil.gov>
Cc: Michael I Bender <mbender@caesarbenderlaw.com>, Christopher Wehrman <cwehrman@smbtrials.com>, John Palen
<jpalen@johnpalenphd.com>, Brad Trowbridge <brad@bradtrowbridge.com>, "Brianna Steger (Chief Judge's Office)"
<brianna.steger@cookcountyil.gov>, gablechman <gablechman@aol.com>

  Parties,

  You are all named as defendants in the attached complaint before The Honorable Judge Charles Norgle and Magistrate
  Judge Young Kim in the Northern District of Illinois. I will be providing you with the complaint via Fedex shipped today or
  tomorrow. In the meantime it is attached here and I would like to ask:

  1. Please waive summons. In exchange for sparing the time and expense of personal service you are given 60 days to
  respond to the Complaint. If you fail to waive service you will be required to pay costs associated with formal service and
  reply sooner

  2. I have agreed to have the case heard by Magistrate Judge Kim in order to access a swifter resolution. If you agree,
  please sign the consent to have the case heard by a magistrate judge.

  3. If you are presently involved in this case and can think of any conflict between your involvement and your status as a
  defendant in a federal suit in which I am the plaintiff please take the appropriate actions.

  Sincerely,
  Megan Mason

   3 attachments
        Waiver of the Service of Summons.pdf
        263K
        Complaint Mason.pdf
        15526K
        Magistrate Consent.pdf
        210K


Megan Mason <megan42@gmail.com>                                                                    Fri, May 13, 2022 at 9:31 AM
To: "Patricia Kelly (Chief Judge's Office)" <patricia.kelly@cookcountyil.gov>

  Good morning, Ms. Kelly. Would you please forward the below message and attachments to Judge Dickler.

  Kind Regards,
  Megan Mason
  [Quoted text hidden]


   3 attachments
        Waiver of the Service of Summons.pdf
        263K
        Complaint Mason.pdf
        15526K
        Magistrate Consent.pdf
        210K
           Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 24 of 61 PageID #:1062

                                      Exhibit B
                                                                                        Megan M <megan42@gmail.com>



Courtesy Copies of Plaintffs' Motion for Preliminary Injunction and Temporary
Restaining Order and Amended Complaint Federal Case 1:22-CV-2315
11 messages

Megan Mason <megan42@gmail.com>                                                                 Wed, Jun 29, 2022 at 6:12 AM
To: "Patricia Kelly (Chief Judge's Office)" <patricia.kelly@cookcountyil.gov>, "Kaye Mason (Chief Judge's Office)"
<kaye.mason@cookcountyil.gov>, Michael I Bender <mbender@caesarbenderlaw.com>, "Christopher D. Wehrman"
<CWehrman@kgwlaw.com>, gablechman <gablechman@aol.com>, John Palen <jpalen@johnpalenphd.com>, Brad
Trowbridge <brad@bradtrowbridge.com>, "Brianna Steger (Chief Judge's Office)" <brianna.steger@cookcountyil.gov>,
"courtclerk (Circuit Court)" <courtclerk@cookcountycourt.com>
Cc: Molly E Caesar <mcaesar@caesarbenderlaw.com>, Aneta Sniadala <ASniadala@kgwlaw.com>, Justyn Brodacz
<JBrodacz@caesarbenderlaw.com>, Cford@kgwlaw.com, "Steven H. Klein" <sklein@kgwlaw.com>,
Matthew.Link@cookcountyil.gov, CivilRightsDivision@usdoj.gov, igoldstein@kgwlaw.com, twarren@kgwlaw.com,
mfisher@kgwlaw.com, patrick.johnson2@usdoj.gov, john.lausch@usdoj.gov, aemmanuel@injusticewatch.org

  Parties,

  You have all been named as defendants personally, in your professional capacity or
  both in Case 1:22-CV-2315 in the Northern District of Illinois, before the Honorable
  Charles Norgle. You all received the original complaint and learned of the allegations
  made toward you therein - personally and professionally - on or before May 19, 2022. I
  am also a federal witness against many of you in criminal investigations related to many
  of the same crimes described clearly and truthfully in this civil complaint.

  Without exception, you have all obfuscated and attempted to hinder justice in this matter
  by - contrary to the Rule 4 of the Federal Rules of Civil Procedure - refusing to waive
  formal service. As of this writing more than thirty days after you received this Complaint
  none of you have filed an appearance or designated an attorney to file an appearance
  to answer for these very serious and, I maintain, truthful allegations I have made against
  you before this Court. You have been and will continue to be fully informed of the
  allegations against you. You must answer.

  On Friday, July 1, 2022, I will present the attached Motion for Preliminary
  Injunction and Temporary Restraining Order before the Honorable Judge Charles
  Norgle or any judge sitting in his stead in Courtroom 2341of the Northern District
  of Illinois at 9:30 a.m. or soon thereafter. Before that time I assume all parties will
  have received both actual notice of the suit against you as presented to you on or
  before May 19th, 2022 as well as formal service. You all are in receipt of the Motion for
  Preliminary Injunction as filed and attached here, and as clearly described in the
  Complaint you received on May 19th, 2022.
       Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 25 of 61 PageID #:1063
                                  Exhibit B Continued
You all understand that you are defendants in this suit and I ask you to act ethically, with
dignity, and without further acts of witness intimidation, obstruction of justice, witness
retaliation or other serious federal crimes, as are occurring at present. The people of
Illinois don’t have time for nonsense.

In particular I would like to note that Judges Dickler, Evans and Johnson are, through
your professional capacity, authorized to reprimand or curtail, even imprison, citizens
before you who attempt to evade service, obstruct justice, tamper with witnesses and
evidence, intimidate their accusers or otherwise seek to avoid honest, just accountability
before the law. Answer for your alleged crimes or misdeeds. It is your duty and your
obligation. You have no right to curtail justice that you claim to impose on others.

Until you have acted in accordance with your responsibility under federal law to waive
service, I have arranged formal service of process of the documents attached here:

A Copy of the Stamped Summonses
A Copy of the Notice of Motion for Each Party
A Copy of the Amended Complaint for Case 1:22-CV-2315
A Copy of the Motion for Preliminary Injunction and Temporary Restraining Order
A Copy of the Signed Consent for Magistrate Hearing



These documents are being provided to: The Circuit Court of Cook County, Judge
Timothy Evans, Judge Grace Dickler, Judge Robert Johnson, Mr. Michael Bender, Mr.
Bradley Trowbridge, Mr. Christopher Wehrman, Ms. Iris Martinez, Ms. Dorothy Brown,
Dr. John Palen, Dr. Gerald Blechman, Ms. Kaye Mason, Ms. Lorie Garner. Defendants
Steven Klein and Matthew Link are also being provided the Complaint, Motion and
Notice of Motion and are encouraged to waive service according to Rule 4 of the
Federal Rules of Civil Procedure.

I look forward to your professional and collegial collaboration in coordinating the hand
delivery of each of your summonses and other documents and I trust that if any party
should believe that he or she has a basis to oppose my Motion for Preliminary
Injunction, he or she will present that claim on Friday before Judge Norgle.

I would also like to remind all parties who are witnesses to federal crimes and perhaps,
due to junior status, required as part of your job to commit acts in furtherance of your
supervisors' personal crimes: you have a duty to cease involvement in crimes and to
report acts such as obstruction of justice, filing of fraudulent court documents and
            Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 26 of 61 PageID #:1064
                                                      Exhibit B Continued
 federal witness tampering and intimidation when you are aware of them. I would consult
 with a federal criminal attorney in situations where you may be confused as to whether
 an action you are asked to perform is a protected legal activity or a criminal act. I would
 also encourage you to report payments you observe to your employers from funds you
 know to be laundered. I encourage anyone of conscience to cease participating in acts
 of federal witness retaliation and intimidation orchestrated by other parties. I would
 encourage any party of conscience to report federal crimes to the F.B.I. by calling (312)
 421-6700.


 Kind Regards,
 Megan Mason


  5 attachments
      Stamped 22cv2315Amended Comp rRC (1).pdf
      6045K
      Stamped Plaintiff MP 1-22-CV-2315 RC.pdf
      4060K
      NOMs.pdf
      4543K
      Summonses.pdf
      2563K
      Magistrate Consent.pdf
      326K


Brad Trowbridge <brad@bradtrowbridge.com>                                                                   Wed, Jun 29, 2022 at 6:13 AM
To: megan42@gmail.com

 I will be out of the office from June 18, 2022, through June 29, 2022. My assistant will be checking my email frequently.
 Thank you.


 --
 Brad Trowbridge
 The Law Offices of Bradley R. Trowbridge
 3257 N. Sheffield Suite 104
 Chicago, IL 60657
 P: 773-784-9900
 E: brad@bradtrowbridge.com

 PRIVACY AND CONFIDENTIALITY NOTICE
 The information contained in this communication is confidential and may be legally privileged. If you are not the intended recipient
 you are notified that any disclosure, copying, distribution or taking action based on the contents is strictly prohibited. If you received
 this communication in error, please immediately notify us at (773) 784-9900.



postmaster@cookcounty.onmicrosoft.com <postmaster@cookcounty.onmicrosoft.com>                               Wed, Jun 29, 2022 at 6:15 AM
To: megan42@gmail.com


 Delivery has failed to these recipients or groups:
                                           DocuSign Envelope ID: 30DE2796-1845-43AE-B7DF-C02CB04195F7
                           Case:
      All Domestic Relations  cases1:22-cv-02315       Document
                                    will be heard by phone or video. #: 29 Filed: 07/12/22 Page 27 of 61 PageID #:1065
      Go to http://www.cookcountycourt.org/LinkClick.aspx?fileticket=G7A8KAcSi8E%3d&portalid=0
          to get more information and Zoom Meeting IDs.
      Remote Court Date: No hearing scheduled                                                   Exhibit C    FILED
                                                                                                            6/3/2022 1:31 PM
                                                                                                            IRIS Y. MARTINEZ
                                                                                                            CIRCUIT CLERK
                                                                                                            COOK COUNTY, IL
FILED DATE: 6/3/2022 1:31 PM 2016D009534




                                                                                                            2016D009534
                                                                                                            Calendar, 23
                                                                                                            18153868
                                           DocuSign Envelope ID: 30DE2796-1845-43AE-B7DF-C02CB04195F7
                                                          Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 28 of 61 PageID #:1066

                                                                                           Exhibit C Continued
FILED DATE: 6/3/2022 1:31 PM 2016D009534
                                           DocuSign Envelope ID: 30DE2796-1845-43AE-B7DF-C02CB04195F7
                                                          Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 29 of 61 PageID #:1067
                                                                                              Exhibit C Continued
FILED DATE: 6/3/2022 1:31 PM 2016D009534
                                           DocuSign Envelope ID: 30DE2796-1845-43AE-B7DF-C02CB04195F7
                                                          Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 30 of 61 PageID #:1068
                                                                                               Exhibit C Continued
FILED DATE: 6/3/2022 1:31 PM 2016D009534
                                           DocuSign Envelope ID: 30DE2796-1845-43AE-B7DF-C02CB04195F7
                                                          Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 31 of 61 PageID #:1069

                                                                                               Exhibit C Continued
FILED DATE: 6/3/2022 1:31 PM 2016D009534
                                           DocuSign Envelope ID: 30DE2796-1845-43AE-B7DF-C02CB04195F7
                                                          Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 32 of 61 PageID #:1070

                                                                                            Exhibit C Continued
FILED DATE: 6/3/2022 1:31 PM 2016D009534
                                           DocuSign Envelope ID: 30DE2796-1845-43AE-B7DF-C02CB04195F7
                                                          Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 33 of 61 PageID #:1071

                                                                                            Exhibit C Continued
FILED DATE: 6/3/2022 1:31 PM 2016D009534
                                           DocuSign Envelope ID: 30DE2796-1845-43AE-B7DF-C02CB04195F7
                                                          Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 34 of 61 PageID #:1072


                                                                                             Exhibit C Continued
FILED DATE: 6/3/2022 1:31 PM 2016D009534




                                                                   6/3/2022
                                           DocuSign Envelope ID: 30DE2796-1845-43AE-B7DF-C02CB04195F7
                                                          Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 35 of 61 PageID #:1073
                                                                                            Exhibit C Continued
FILED DATE: 6/3/2022 1:31 PM 2016D009534
  Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 36 of 61 PageID #:1074
                            Exhibit D

Affidavit of Diane Mason Regarding Attempted Service of Process on Mr. Michael Bender

On Wednesday July 6th at approximately 1:15pm I attempted to provide service of summons and
complaint in Case Number: 1:22-CV-2315 upon defendant Michael Bender at the address I
believed to be his residence, 7328 Keystone, Skokie, IL . In the driveway was parked a red late
model Jaguar with the license plate V63 7319.

I rang the button for the intercom and received no response. Megan Mason accompanied me.
Megan Mason pressed the intercom button and said, “We have a delivery for Michael Bender”.
Nobody responded or answered the door. We left the premises.




                                                                    Respectfully Submitted by,


                                                            /S/__________________________
                                                                     Diane Mason 7/8/22


                                                                                 Diane Mason
                                                                               217 W. 11th St.
                                                                      Holland, Michigan 49423
                                                                               (616) 396-6202
Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 37 of 61 PageID #:1075


             Exhibit D Continued
     Case:
      Case: 1:22-cv-02315
              1:22-cv-02315Document Document#:#:29      28Filed:
                                                            Filed:07/12/22
                                                                      07/11/22Page  Page38   1 of 611 PageID
                                                                                                        PageID#:1038
        [If you need additional space for ANY section, please attach an additional sheet and reference that section.]
                                                                                                                      #:1076
                                                 Exhibit E
                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF ILLINOIS
 Megan Mason, et al.
                                                              )
 Plaintiff                                                    )
                                                              )   Case Number: 1:22-CV-2315
 v.                                                           )
 Circuit Court of Cook County                                 )   Judge: Charles Norgle
 Illinois                                                     )
                                                              )
 Defendant                                                    )
                                                    NOTICE OF MOTION

 TO:              Mr. Michael Bender

                  150 N. Michigan Ave., #2130

                  Chicago, IL 60601



 PLEASE TAKE NOTICE that on Friday, July 1, 2022                     at 9:30 am     , or as soon
 thereafter as I may be heard, I shall appear before the Honorable Judge Charles Norgle
 or any judge sitting in his or her stead in Courtroom 2341                                  of the U.S. District Court of
 the Northern District of Illinois, Eastern Division, 219 South Dearborn St., Chicago, Illinois and
 shall present the following motion attached hereto:

         Plaintiff’s Motion for Preliminary Injunction and Temporary Restraining Order

                                  CERTIFICATE OF SERVICE
I hereby certify that on July 8, 2022     , I provided service to the person or persons listed

above by the following means: I left the notice of motion and motion in clear site at the security desk of 150
                              N. Michigan Ave. and Mr. Bender was notified by a phone call from
                              security and an email from me that a package was delivered for him
 Signature: /S/ Megan Mason                                   Date: 7/11/2022


 Name (Print): Megan Mason


 Address: 419 Greenleaf Ave.                                                          Phone: 917.518.1808

             Wilmette, IL 60091




Rev. 06/29/2016

             [If you need additional space for ANY section, please attach an additional sheet and reference that section.]
Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 39 of 61 PageID #:1077
                  Exhibit E Continued
          Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 40 of 61 PageID #:1078
                                     Exhibit F
                                                                               Megan M <megan42@gmail.com>



PROPOSED ORDER; Matt; 16 D 9534
6 messages

Christopher D. Wehrman <CWehrman@kgwlaw.com>                                      Mon, Apr 4, 2022 at 5:02 PM
To: "CCC.DomRelCR2108@cookcountyil.gov" <CCC.DomRelCR2108@cookcountyil.gov>
Cc: Megan Mason <megan42@gmail.com>, Michael I Bender <mbender@caesarbenderlaw.com>, Justyn Brodacz
<JBrodacz@caesarbenderlaw.com>, Aneta Sniadala <ASniadala@kgwlaw.com>


 Please find attached the proposed order from this afternoon.



 If Ms. Mason has any comments as to your ruling, she may provide them here.



 Chris



 Christopher D. Wehrman



 KATZ, GOLDSTEIN & WARREN

 Chicago Office:

 410 N. Michigan, Suite 400

 Chicago, IL 60611

 Telephone: 847-317-9500

 Facsimile: 847-317-0286

 E-mail: cwehrman@kgwlaw.com

 or visit our website at: http://www.kgwlaw.com



 Lake County Office:

 2345 Waukegan Road, Suite 150

 Bannockburn, IL 60015
Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 41 of 61 PageID #:1079


                            Exhbit G
Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 42 of 61 PageID #:1080

                                    Exhbit H
Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 43 of 61 PageID #:1081

                            Exhibit I
Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 44 of 61 PageID #:1082




                        Exhibit J
Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 45 of 61 PageID #:1083




                                  Exhibit K
      Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 46 of 61 PageID #:1084


                                 Exhibit L

Christopher David Wehrman
as of 6/30/2022 4:46:53 AM




  Full Licensed              Christopher David Wehrman
  Name

  Full Former                None
  Name(s)

  Registered                 Katz, Goldstein & Warren, P.C.
  Address                    2345 Waukegan Road, Suite 150
                             Bannockburn, Illinois 60015-1552

  Registered                 Not available
  Phone



  Date Admitted              November 07, 2002

  Illinois                   Active and authorized to practice law – Last Registered
  Registration               Year: 2022
  Status

  Malpractice                In annual registration, the attorney reported that the
  Insurance                  attorney, or the attorney’s firm, maintains malpractice
                             insurance.



 Public Record of Discipline and Pending Proceedings
     None
     Case:
      Case: 1:22-cv-02315
              1:22-cv-02315Document Document#:#:29      21Filed:
                                                            Filed:07/12/22
                                                                      07/01/22Page  Page47   1 of 611 PageID
                                                                                                        PageID#:1030
        [If you need additional space for ANY section, please attach an additional sheet and reference that section.]
                                                                                                                      #:1085

                                         Exhibit M
                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF ILLINOIS
 Megan Mason, et al.
                                                              )
 Plaintiff                                                    )
                                                              )   Case Number: 1:22-CV-2315
 v.                                                           )
 Circuit Court of Cook County                                 )   Judge: Charles Norgle
 Illinois                                                     )
                                                              )
 Defendant                                                    )
                                                    NOTICE OF MOTION

 TO:              Mr. Christopher Wehrman
                  KGW Law                         Katz, Goldstein & Warren
                  410 N. Michigan Ave., Suite 400 2345 Waukegan Rd Suite 150, Bannockburn, IL 60015
                  Chicago, IL 60611




 PLEASE TAKE NOTICE that on Friday, July 1, 2022                     at 9:30 am     , or as soon
 thereafter as I may be heard, I shall appear before the Honorable Judge Charles Norgle
 or any judge sitting in his or her stead in Courtroom 2341                                  of the U.S. District Court of
 the Northern District of Illinois, Eastern Division, 219 South Dearborn St., Chicago, Illinois and
 shall present the following motion attached hereto:

         Plaintiff’s Motion for Preliminary Injunction and Temporary Restraining Order

                                            CERTIFICATE OF SERVICE
I hereby certify that on 6/30/22                            , I provided service to the person or persons listed

above by the following means: I placed the motion and notice of motion in plain sight on the desk of the receptionist
                                           At KGW Law


 Signature: /S/ Megan Mason                                                           Date:       7/1/22


 Name (Print): Megan Mason


 Address: 419 Greenleaf Ave.                                                          Phone: 917.518.1808

             Wilmette, IL 60091




Rev. 06/29/2016

             [If you need additional space for ANY section, please attach an additional sheet and reference that section.]
Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 48 of 61 PageID #:1086



                     Exhibit M Continued
  Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 49 of 61 PageID #:1087
                                  Exhibit N

Affidavit of Diane Mason Regarding Attempted Service of Process on Dr. Gerald Blechman

On Tuesday July 5th at approximately 2pm I attempted to provide service of summons and
complaint in Case Number: 1:22-CV-2315 upon defendant Gerald Blechman. I visited Dr.
Blechman’s business address at 1751 S Naperville Rd, Suite 206 Wheaton, IL 60189. I found
Dr. Blechman’s front door locked and the lobby and main offices of his business, named Psycare,
darkened. I observed notes piling up on his door. I knocked on the door and knocked on the
window to the office.

Megan Mason accompanied me . After I knocked on the door and received no response Ms.
Mason said “I’m going to call him”. I observed Ms. Mason making a phone call. She left a
voicemail stating to Dr. Blechman that she was at his office and would like to schedule a delivery
to him and to please call her back.

I then observed Ms. Mason to slide the Motion for Preliminary Injunction and Temporary
Restraining Order and Notice of Motion under Dr. Blechman’s door, to the lobby floor in plain
sight.




                                                                      Respectfully Submitted by,


                                                              /S/__________________________
                                                                     Diane Mason 7/8/22


                                                                                   Diane Mason
                                                                                 217 W. 11th St.
                                                                        Holland, Michigan 49423
                                                                                 (616) 396-6202
Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 50 of 61 PageID #:1088


                     Exhibt N Continued
             Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 51 of 61 PageID #:1089
                                                       Exhibit O
                                                                                            Megan M <megan42@gmail.com>



your subpoena
11 messages

gablechman@aol.com <gablechman@aol.com>                                             Fri, Apr 8, 2022 at 4:08 PM
Reply-To: gablechman@aol.com
To: "megan42@gmail.com" <megan42@gmail.com>, "pleadings@kgwlaw.com" <pleadings@kgwlaw.com>,
"bender@caesarbenderlawcomcast.com" <bender@caesarbenderlawcomcast.com>

 Dear Ms. Mason
 I am in receipt of your Subpoena for Documents in case number 2016 D 9534. Please be advised that I cannot honor
 your subpoena for the following reasons:
 1. I do not release information in my file before the report is written
 2. It appears your Subpoena is ex parte. No notice was given to the other attorneys in this case.
 3. Raw psychological data cannot by law be released to a client. It must be released to a licensed mental health
 professional
 4. And, apart from the initial retainer of $2000 that you tendered at the beginning of the evaluation, you have not paid
 the remaining $2000
 5. I would appreciate also a statement from you indicating you are still actively involved in the evaluation as your prior
 email makes it appear you are no longer involved


 Gerald A. Blechman, Ph.D..


Megan Mason <megan42@gmail.com>                                                      Sat, Apr 9, 2022 at 7:03 AM
To: gablechman@aol.com
Cc: "bender@caesarbenderlawcomcast.com" <bender@caesarbenderlawcomcast.com>, "pleadings@kgwlaw.com"
<pleadings@kgwlaw.com>

 Hi Dr. Blechman,

 I find this email confusing. Are you indicating that you believe I owe you funds? I paid the amount required. Any unpaid
 invoices are news to me. Please use US Postal service to present to me any invoices you feel are owed. My address is:
 419 Greenleaf Ave.
 Wilmette, IL 60091

 I will not pay them but I will pass them to the bankruptcy trustees.

 If you have specific requests for outstanding issues related to the activities referred to as. Custody evaluation please let
 me know. I was ordered by court to participate. I did and do.

 I never indicated I wished to end the activities referred to as a custody evaluation, Dr. Blechman. I simply must make
 efforts to protect myself and my children. To that end I will not meet/speak alone with individuals where I fear there may be
 further instances of witness intimidation and whistleblower retaliation regarding litigation in federal and appellate court.

 To that end I simply require a civil rights observer, attorney or my own therapist in attendance should you have a need to
 speak or meet with me privately. Alternately we can both give consent to record future interactions. The same applies to
 the honorable Mr. Bender.

 Thanks,

 Megan
 [Quoted text hidden]



Mail Delivery Subsystem <mailer-daemon@googlemail.com>                                               Sat, Apr 9, 2022 at 7:03 AM
To: megan42@gmail.com
                                          Exhibit
             Case: 1:22-cv-02315 Document #:         O07/12/22
                                             29 Filed: Continued
                                                               Page 52 of 61 PageID #:1090



                        Address not found

                        Your message wasn't delivered to
                        bender@caesarbenderlawcomcast.com because the domain
                        caesarbenderlawcomcast.com couldn't be found. Check for
                        typos or unnecessary spaces and try again.




   The response was:

   DNS Error: DNS type 'mx' lookup of caesarbenderlawcomcast.com responded with code NXDOMAIN
   Domain name not found: caesarbenderlawcomcast.com




 Final-Recipient: rfc822; bender@caesarbenderlawcomcast.com
 Action: failed
 Status: 4.0.0
 Diagnostic-Code: smtp; DNS Error: DNS type 'mx' lookup of caesarbenderlawcomcast.com responded with code
 NXDOMAIN
 Domain name not found: caesarbenderlawcomcast.com
 Last-Attempt-Date: Sat, 09 Apr 2022 05:03:46 -0700 (PDT)


 ---------- Forwarded message ----------
 From: Megan Mason <megan42@gmail.com>
 To: gablechman@aol.com
 Cc: "bender@caesarbenderlawcomcast.com" <bender@caesarbenderlawcomcast.com>, "pleadings@kgwlaw.com"
 <pleadings@kgwlaw.com>
 Bcc:
 Date: Sat, 9 Apr 2022 07:03:35 -0500
 Subject: Re: your subpoena
 ----- Message truncated -----


Megan Mason <megan42@gmail.com>                                                              Fri, Apr 15, 2022 at 7:36 AM
To: gablechman <gablechman@aol.com>

 Hi Dr. Blechman,

 I would kindly appreciate a response.
 1. What is the basis for your request for money? Did you mail an invoice?
 2. Do you need to speak to me, if so, are you able to accommodate my request to not meet alone?

 Thanks,
 Megan
 [Quoted text hidden]



Megan Mason <megan42@gmail.com>                                                            Tue, Apr 19, 2022 at 11:34 AM
To: gablechman <gablechman@aol.com>

 Why were you soliciting a payment of $2,000?
 [Quoted text hidden]
                                       Exhibit
             Case: 1:22-cv-02315 Document        O Continued
                                          #: 29 Filed: 07/12/22 Page 53 of 61 PageID #:1091
gablechman <gablechman@aol.com>                                                                 Tue, Apr 19, 2022 at 11:53 AM
To: Megan Mason <megan42@gmail.com>

 Megan:
 I apologize for payment request. I forgot your evaluation was a604.10(b) and therefore you would be responsible for half
 the fee. I believe Mr Matt has paid, so therefore, reimbursement is between you and him.
 I would like to meet with you but it is not my practice to include a 3rd party or record the session. If you accept these
 terms, let me know so we can schedule an appointment.

 Gerald A. Blechman, Ph.D.



 Sent from my Verizon, Samsung Galaxy smartphone
 [Quoted text hidden]



Megan Mason <megan42@gmail.com>                                                                 Tue, Apr 19, 2022 at 12:02 PM
To: gablechman <gablechman@aol.com>

 Hi Dr. Blechman,

 What would you like to meet about? We have had several meetings together. I would like to understand the basis. Your
 office is more than an hour away and I work full time. I don't understand why your report wasn't submitted months ago and
 any clarification would be appreciated, including a demand for further contact.

 Why are you opposed to having a third party present? I believe it's a pretty simple accommodation to facilitate my
 comfort and feeling of security. This accommodation requires no expense or inconvenience to you. I fail to see why you
 would be opposed. Please explain.

 Thanks,
 Megan
 [Quoted text hidden]



Megan Mason <megan42@gmail.com>                                                                    Fri, Jun 17, 2022 at 5:56 PM
To: gablechman <gablechman@aol.com>

 Hi Dr. Blechman,

 I am a bit confused about the below conversation. I was told at the time of your appointment that your fee is $4,000 for
 which I was responsible for half. I received an invoice at your office and paid your $2,000 in May or June of last year. On
 April 8 you wrote to me, "apart from the initial retainer of $2000 that you tendered at the beginning of the evaluation,
 you have not paid the remaining $2000".

 I then wrote to indicate I was not aware of an outstanding invoice. I indicated that I wished for you to mail any
 outstanding invoices to my address and provided my address for your reference.

 You then wrote back,"I apologize for payment request. I forgot your evaluation was a604.10(b) and therefore you would
 be responsible for half the fee." You have not since this time provided an invoice.

 In a motion for fees filed by Christopher Wehrman he wrote, "Through April 11, 2022, Peter Matt has paid $8,900 to Dr.
 Blechman for Dr. Blechman's investigation and appearances in this matter."

 Again, do you believe funds are owed to you? Have you invoiced me? Why do you not want to put your own name on the
 motion for fees if you believe the claim is truthful?

 Megan

 [Quoted text hidden]



Megan Mason <megan42@gmail.com>                                                                    Thu, Jul 7, 2022 at 8:45 AM
To: gablechman <gablechman@aol.com>
                                       Exhibit
             Case: 1:22-cv-02315 Document         O Continued
                                          #: 29 Filed: 07/12/22 Page 54 of 61 PageID #:1092
 Hi Dr. Blechman,

 Yesterday I stopped at your office around 1 and found it darkened and vacant. I’ve emailed you repeatedly and called
 repeatedly with no response. I called you yesterday to arrange a court ordered meeting and again received no response.

 I reached out to your friend Michael Bender and your colleague Christopher Wehrman to make sure you’re ok. Please
 respond in some manner today or I’ll need to contact Wheaton Police Department to do a wellness check.

 Thanks,
 Megan
 [Quoted text hidden]



Megan Mason <megan42@gmail.com>                                                                  Fri, Jul 8, 2022 at 11:59 AM
To: gablechman <gablechman@aol.com>

 Hi Dr. Blechman,

 Please respond by phone or email to confirm you are well and available to provide services as per court order.

 Thanks,
 Megan Mason
 [Quoted text hidden]



Megan Mason <megan42@gmail.com>                                                                    Fri, Jul 8, 2022 at 1:03 PM
To: gablechman <gablechman@aol.com>

 Hi Dr. Blechman,

 Please advise your attorney contact information. Please instruct your attorney to file an appearance if you wish for me to
 communicate with him or her regarding this matter. I understand that you do not wish for any personal contact with me,
 which I take to mean phone calls, personal visits or appointments. However I must communicate on some matters as
 required by federal law and procedures. Going forward I will attempt to reduce contact to the minimum necessary email or
 postal correspondence to conduct legal matters. If you could provide your counsel's information and have that person file
 an appearance you would be able to eliminate contact that includes necessary correspondence as required by federal
 law.

 Because you have stated to Officer Justin Sanchez of the Wheaton Police that you refuse to act as Custody Evaluator in
 case 2016 D 9534 by communicating with parties in that case, namely me, the children's mother, you are unable to fulfill
 this role. Please inform the Court immediately

 Thanks,
 Megan
 [Quoted text hidden]
  Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 55 of 61 PageID #:1093
                                         Exhibit P

Affidavit of Robert Frank Regarding Attempted Service of Process on Bradley Trowbridge

On Friday July 8th at approximately 7:00am I attempted to provide service of summons and
complaint in Case Number: 1:22-CV-2315 upon defendant Bradley Trowbridge at the address I
believed to be his residence and business address, 3257 N. Sheffield Ave., Chicago, IL 60657.

I rang the bell and was directed to a voicemail service. I waited for someone to come to the door
for a minute. When nobody came to the door I left.




                                                                      Respectfully Submitted by,


                                                              /S/__________________________
                                                                     Robert Frank 7/9/22


                                                                                  Robert Frank
                                                                     175 W. Jackson Blvd., #200
                                                                             Chicago, IL 60604
                                                                                (773) 849-3378
                                    Exhibit
            Case: 1:22-cv-02315 Document #: 29QFiled: 07/12/22 Page 56 of 61 PageID #:1094


                                                                                                      Megan M <megan42@gmail.com>



Courtesy Copies of Plaintffs' Motion for Preliminary Injunction and Temporary
Restaining Order and Amended Complaint Federal Case 1:22-CV-2315
Brad Trowbridge <brad@bradtrowbridge.com>                                                                   Wed, Jun 29, 2022 at 6:13 AM
To: megan42@gmail.com

 I will be out of the office from June 18, 2022, through June 29, 2022. My assistant will be checking my email frequently.
 Thank you.


 --
 Brad Trowbridge
 The Law Offices of Bradley R. Trowbridge
 3257 N. Sheffield Suite 104
 Chicago, IL 60657
 P: 773-784-9900
 E: brad@bradtrowbridge.com

 PRIVACY AND CONFIDENTIALITY NOTICE
 The information contained in this communication is confidential and may be legally privileged. If you are not the intended recipient
 you are notified that any disclosure, copying, distribution or taking action based on the contents is strictly prohibited. If you received
 this communication in error, please immediately notify us at (773) 784-9900.
                                     Exhibit
           Case: 1:22-cv-02315 Document        R 07/12/22 Page 57 of 61 PageID #:1095
                                        #: 29 Filed:


                                                                                             Megan M <megan42@gmail.com>



Please confirm service contact
Megan Mason <megan42@gmail.com>                                                                    Tue, May 3, 2022 at 11:25 AM
To: "Brianna Steger (Chief Judge's Office)" <brianna.steger@cookcountyil.gov>
Cc: "oig (Circuit Court)" <oig@cookcountycourt.com>

  Hi Ms. Steger,

  Would you please provide the full contact for the Attorney Representing the Court in the Northern District of Illinois on
  matters relating to Color of Law violations by and within the Circuit Court? Would you also please provide the contact
  information for the firm representing the Clerk of The Circuit Court?

  Thanks,
  Megan Mason
Case: 1:22-cv-02315 Document #: 29 Filed: 07/12/22 Page 58 of 61 PageID #:1096

                           Exhibit S
Case:
 Case:1:22-cv-02315
       1:22-cv-02315Document
                     Document#:#:29
                                  17Filed:
                                     Filed:07/12/22
                                            06/30/22Page
                                                     Page59
                                                          1 of 61
                                                               3 PageID
                                                                  PageID#:1020
                                                                         #:1097
                                       Exhibit T
             Case:
              Case:1:22-cv-02315
                    1:22-cv-02315Document
                                  Document#:#:29
                                               17Filed:
                                                  Filed:07/12/22
                                                         06/30/22Page
                                                                  Page60
                                                                       2 of 61
                                                                            3 PageID
                                                                               PageID#:1021
                                                                                      #:1098
                                                                      Exhibit T
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. Case Number: 1:22-CV-2315

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                           .

           ’ I personally served the summons on the individual at (place)
                                                                                    on (date)                              ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           x I served the summons on (name of individual).            Betty in Chief Judge Timothy Evans’s Office                   , who is
            designated by law to accept service of process on behalf of (name of organization)               The Circuit Court of Cook County Illinois,
           Grace Dickler, Timothy Evans, and Robert Johnson                         on (date)      June 28, 2022           ; or

           ’ I returned the summons unexecuted because                                                                                   ; or

           ’ Other (specify):
                                                                                                                                                .


           My fees are $                           for travel and $                      for services, for a total of $           0.00          .


           I declare under penalty of perjury that this information is true.


 Date:     June 29, 2022                                                                        /S/ Robert Frank
                                                                                                Server’s signature


                                                                                Robert Frank
                                                                                             Printed name and title

                                                                             175 W Jackson Blvd #200, Chicago, IL 60604


                                                                                                 Server’s address

 Additional information regarding attempted service, etc:
         Please see affixed description of service.




           Print                       Save As...                                                                           Reset
  Case:
   Case:1:22-cv-02315
         1:22-cv-02315Document
                       Document#:#:29
                                    17Filed:
                                       Filed:07/12/22
                                              06/30/22Page
                                                       Page61
                                                            3 of 61
                                                                 3 PageID
                                                                    PageID#:1022
                                                                           #:1099

                                        Exhibit T
On Tuesday, June 28, 2022 at approximately 12:50 pm I entered courtroom 1905 of the Circuit Court
Cook County at the Daley Center. I was accompanied by Megan Mason, plaintiff.

Upon entering the courtroom we were told by a young woman, “Court is in recess, we’ll be back at
1:00pm”. Ms. Mason said, “We’re not here for court, we need to serve Judge Dickler a summons. The
young lady said, I don’t know where Judge Dickler is.

Ms. Mason asked the young lady what her name is. She replied, “Olivia”. Ms. Mason asked, “What’s
your last name?”. The young lady replied, “I’m not going to tell you. I just work here.”.

Eventually a woman came from behind the courtroom and said, “You need to go to Judge Evans’s office
on the 26th floor, they can receive service there.” Ms. Mason asked the woman her name, she replied,
“Patricia Kelly”.

I accompanied Ms. Mason to Judge Timothy Evans’s office on the 26th floor. A man with the id
“Franklin” opened the door. We explained that we needed to serve summonses on behalf of the Circuit
Court of Cook County, Grace Dickler, Timothy Evans, and Robert Johnson. The man named Franklin told
us to wait outside the door.

A woman came to the door of Judge Evans’s office and said, “I can take those”. Ms. Mason asked her her
name. She replied, “Betty”. Ms. Mason asked for her last name. The woman calling herself Betty said, “I
don’t give my last name”.

I personally handed to the woman, on the instruction of Patricia Kelly and Franklin, the summonses
affixed here.


                                                                                Respectfully Submitted,


                                                               /S/ Robert Frank
                                                         ______________________________________

                                                                                           Robert Frank
                                                                                          June 30, 2022

                                                                               175 W Jackson Blvd #200,
                                                                                      Chicago, IL 60604
                                                                                         (773) 849-3378
